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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,          )
                                   )
          Plaintiff,               )
                                   )            CR No. 22-15-10
                                   )            Washington, D.C.
       vs.                         )            September 19, 2023
                                   )            8:30 a.m.
THOMAS E. CALDWELL,                )
                                   )
          Defendants.              )
___________________________________)


         TRANSCRIPT OF ORAL RULING VIA ZOOM PROCEEDINGS
               BEFORE THE HONORABLE AMIT P. MEHTA
                  UNITED STATES DISTRICT JUDGE


APPEARANCES:

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Proceedings recorded by mechanical stenography; transcript
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                                                                                    3

1                             P R O C E E D I N G S

2                COURTROOM DEPUTY:     Good morning, Your Honor.             This

3    is Criminal Case No. 22-15-10, the United States of America

4    versus Thomas Edward Caldwell.

5                Troy Edwards for the government.

6                David Fischer for the defense.

7                The defendant is appearing via videoconference for

8    these proceedings.

9                THE COURT:     All right.   Good morning, everyone.

10               Mr. Caldwell, good morning to you.           Can you hear

11   me all right?

12               THE DEFENDANT:     Good morning, Your Honor.

13               THE COURT:     Everybody hear me okay?

14               THE DEFENDANT:     Yes, Your Honor.

15               MR. NESTLER:     Yes, Your Honor.

16               MR. GREENE:     Yes, Your Honor.

17               THE COURT:     First, thank you, all, for getting up

18   with me early.     We're in trial, and so the only time we have

19   to accomplish these hearings is before 9:30 or after 5:00.

20   So I appreciate it.

21               And, secondly, thanks for the patience in awaiting

22   the Rule 29 ruling, I just have a lot -- a lot has to get

23   done.

24               Unless there's anything preliminarily, I just

25   propose to move forward and rule as I have been.             Anything
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                                                                               4

1    we need to discuss before we get there?

2                MR. EDWARDS:    Not from the government, Your Honor.

3                MR. FISCHER:    Not from the defense, Your Honor.

4                THE COURT:    Okay.

5                All right.    So let me just announce my ruling

6    here.

7                So at the omnibus sentencing hearing on May 1 --

8    excuse me, in May, I ruled orally on the outstanding Rule 29

9    motions for the eight defendants from the U.S. versus Rhodes

10   indictment who were scheduled to be sentenced during the

11   last two weeks of May, but I reserved on the question of

12   Mr. Caldwell's convictions under Count 3 of the seventh

13   superseding indictment for obstruction of an official

14   proceeding in violation of 18 U.S.C. 1512(c)(2); and, 2, and

15   Count 13 of the seventh superseding indictment, which was

16   Count 10 at trial, for tampering with documents or

17   proceedings in violation of 18 U.S.C., 1512(c)(1).

18               At trial, Mr. Caldwell was acquitted of the

19   conspiracy count with which he was charged.              That's Count 1

20   for seditious conspiracy, Count 2 for conspiracy to obstruct

21   an official proceeding, and Count 4, conspiracy to prevent

22   Members of Congress from discharging their duties.

23               For the benefit of the record, I'll just reiterate

24   the filings I have reviewed that pertain to Mr. Caldwell:

25               That includes Mr. Caldwell's Rule 29 motion at
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                                                                                   5

1    ECF 384.    He filed a Rule 29 and 33 Placeholder Rule 29 and

2    33 motion at ECF No. 420.       There were Defendant Rhodes' and

3    Meggs' Joint Rule 29 motions as to all Trial 1 Defendants at

4    ECF No. 432.     And Defendant Meggs' motion for a new trial

5    at -- I'm sorry, 432 and 434, which Mr. Caldwell joined at

6    439.

7                Trial 1 defendants' reply in support of a Rule 29

8    motion at 462.

9                Trial defendants' reply in support of their motion

10   for new trial at 463.

11               Mr. Caldwell's supplemental motion, ECF 521; the

12   government's response at 538; and Mr. Caldwell's reply at

13   541; the government filed a surreply at 560 and the

14   government's supplemental authority at 613.              And then

15   Defendant Caldwell's supplemental authority at 616.

16               And, finally, I have reviewed the oral argument

17   transcript from May 24th omnibus hearing and the May 22nd

18   hearing on Defendant Caldwell's Rule 29 motion.

19               Also, for the benefit of the record, let me just

20   restate what the standard of review is for this motion.                  On

21   a Rule 29, the Federal Rules of Criminal Procedure provides

22   that "after the government closes its evidence or after the

23   close of all the evidence, the Court on the defendant's

24   motion must enter a judgment of acquittal for any offense

25   for which the evidence is insufficient to sustain a
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                                                                             6

1    conviction."

2                In ruling on the motion on the judgment of

3    acquittal under Rule 29, the Court must "consider the

4    evidence in the light most favorable to the government and

5    determine whether ... it is sufficient to permit a rational

6    trier of fact to find all of the essential elements of the

7    crime beyond a reasonable doubt.

8                The Court must presume that the jury properly

9    discharged its duty to evaluate the credibility of

10   witnesses, find facts, and draw justifiable inferences.

11               The "judgment of acquittal is appropriate only

12   when there is no evidence upon which a reasonable juror

13   might fairly conclude guilt beyond a reasonable doubt."

14               So beginning with the obstruction charge under the

15   statute of conviction -- that's 18, 1512(c)(2) -- the

16   government had to prove beyond a reasonable doubt that

17   Mr. Caldwell, one, obstructed or impeded an official

18   proceeding.     In this case, that is Congress's joint session

19   to certify the Electoral College vote.

20               Two, intended to obstruct or impede the official

21   proceeding.

22               Three, acted knowingly, with awareness that the

23   natural and probable effect of the defendant's conduct would

24   be to obstruct and impede the official proceeding.

25               And, four, that he acted improperly.
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                                                                             7

1                In the context of this Rule 29 analysis, I must be

2    convinced that there is -- well, before I -- those are the

3    elements.    I also instructed the jury on the theories of

4    attempt to obstruct an official proceeding and aiding and

5    abetting the obstruction of official proceedings.

6                In the context of this Rule 29 analysis, I must be

7    convinced that there's sufficient evidence from which the

8    jury could conclude the defendant knowingly and corruptly

9    interfered with Congress's session on January 6 to certify

10   the Electoral College votes or attempted or aided and

11   abetted the obstruction of that offense.

12               For the reasons I will soon explain, I find that

13   there is sufficient evidence for a jury to conclude that

14   Mr. Caldwell knowingly and corruptly interfered with

15   Congress's certification.

16               So the narrowest ground on which to find the

17   evidence sufficient is on an aiding-and-abetting theory;

18   that is, Mr. Caldwell aided and abetted the violation of

19   1512(c)(2) by others.      That required a showing of four

20   elements.

21               First, that others committed or attempted to

22   commit obstruction of an official proceeding by committing

23   each of the elements of the offense charged as I've

24   explained above.

25               Second, the defendant knew that obstruction of an
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                                                                             8

1    official proceeding is going to be committed and was being

2    committed or was attempted to be committed by others.

3                Third, the defendant performed an act or acts in

4    furtherance of the offense.

5                And, fourth, that the defendant knowingly

6    performed that act or acts for purposes of aiding,

7    assisting, facilitating, or encouraging others in committing

8    or attempting to commit the offense of obstruction of an

9    official proceeding.

10               These elements are met, one, with respect to

11   Ms. Watkins and Mr. Crowl at the very least, who committed

12   offenses under 1512(c)(2).       Mr. Caldwell knew that offense

13   was going to be committed by them; that is, we will see his

14   communication in the days leading up to January 6th.              He

15   anticipated that Mr. Watkins -- Ms. Watkins and Mr. Crowl

16   would use force, including weapons, to disrupt the

17   proceedings.     And on January 6th itself, he would have known

18   that Ms. Watkins and Mr. Crowl would attempt to do so.

19               Three, that he performed an act or acts in

20   furtherance of that offense, specifically those related to

21   the QRF, which was put in place there to support

22   Ms. Watkins -- to support Ms. Watkins and Mr. Crowl's

23   actions, including interfering with the proceedings in the

24   event that Stewart Rhodes called for it or to extract them

25   from the District of Columbia.
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                                                                             9

1                Four, that he knowingly performed those acts.

2                Now, remember, this is all on a Rule 29 standard,

3    and so all of the inferences are being drawn in the light

4    most favorable to the government.

5                So let me just go through the evidence that

6    supports those findings with respect to each element of the

7    offense, aiding and abetting Ms. Watkins and Mr. Crowl.

8                So on December 4, Mr. Caldwell writes to

9    Mr. Crowl:    "But Ranger is thinking we should hold off on an

10   op surrounding the MAGA March and plan for the next op,

11   which may be larger and involve supporting the President

12   directly and taking out -- taking our country back.              That

13   would be our last chance to save the country and may be

14   quite violent."

15               He continued the next day to Mr. Crowl:           "Ranger

16   days -- Ranger says now we are going to talk about urban

17   warfare.    Look, I set an email account on ProtonMail.            We

18   could share stuff securely even if you don't set up an

19   account.    The address I chose is dixiegal65@proton.com."

20               December 4, Mr. Caldwell writes to Mr. Stamey:

21   "Ranger made me think, though he didn't say in so many words

22   that maybe I should play a much bigger app for like when we

23   have to roll into town to actually save the republic.              It

24   seems that the Ohio crew is considered this next march next

25   weekend, so someone must have reached out to them."
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                                                                                10

1                 Those two messages in early December are important

2     insofar as a jury could have found or concluded or inferred

3     Mr. Caldwell had begun thinking about a "much bigger op" and

4     one that will be involving the violence and supporting the

5     President directly if called upon, and also he referenced

6     urban warfare.

7                 So even as early as December 2022, Mr. Caldwell,

8     as the jury concluded, was contemplating the use of violence

9     in connection with the transfer of power.

10                Later that month, on December 21st of 2020,

11    Mr. Stamey sends Mr. Caldwell a link to Stewart Rhodes' Open

12    Letter.   This is the open letter that says in part -- in

13    material part, "If you fail to do your duty," referring to

14    the President, "you will leave we, the people, with no

15    choice but to walk in the founders' footsteps."              And then he

16    references the need to take up arms.

17                Mr. Stewart Rhodes also includes in that open

18    letter and references the fact that mission-critical gear

19    will be stowed nearby just outside D.C.

20                The very next day, Mr. Caldwell writes Doug Smith:

21    "I spoke to Paul last night.       I will be at the March on the

22    6th.   I have booked a hotel room in Arlington.             We do not

23    know yet what may be going down, but this room gives us a

24    spot to stage the materials should things go high order.

25    Ten minutes from the Potomac.          Sharon and I will be there
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                                                                              11

1     5th and 6th.    Wanted you to know this for contingency

2     planning.    Close hold you and Paul only for now, please."

3                 I think it's important the timing of these two

4     emails -- excuse me, two messages, December 1 -- that is,

5     the sending of the open letter, and then the very next day,

6     Mr. Rhodes is talking to Mr. Smith about -- excuse me,

7     Mr. Caldwell is talking to Mr. Smith about staging -- a

8     staging area right outside of the District of Columbia to

9     stage materials, which I think a jury could infer he meant

10    weapons, which is consistent with Mr. Rhodes calling for and

11    noting that there would be a QRF right outside the

12    District of Columbia.

13                And eight days later, on December 30th,

14    Mr. Caldwell writes to Ms. Watkins, "Talked to Paul.              At

15    least one full bus, 40-plus people coming from

16    North Carolina.     Another group (unclear if Mississippi

17    guys), also a bus.      Buses have their own lane on the 14th

18    Street Bridge, so they will be able to get in and out.              Paul

19    is driving plus one and arriving the night before.             As we

20    speak, he is trying to book a room at Comfort Inn

21    Ballston/Arlington because of its close-in location and easy

22    access to downtown because he feels, 1, he is too broken

23    down to be on the ground all day, 2, he is committed to

24    being the Quick Reaction Force and bringing the tools if

25    something goes to hell.      That way the boys don't have to try
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                                                                              12

1     and schlep weps on the bus."

2                 Here we are eight days later, and the messages

3     that Mr. Caldwell was sending to Mr. Smith eight days

4     earlier, these are the more explicit about the use of

5     weapons and staging of weapons outside the

6     District of Columbia in the event that they are needed on

7     January the 6th.

8                 December 31 in a reply on Facebook to a comment by

9     John McGraw, he begins -- he writes, "It begins for real on

10    January 5 and 6 in Washington, D.C. when we mobilize in the

11    streets.    Let them try to certify some crud on Capitol Hill

12    with a million or more patriots in the street.            This kettle

13    is set to boil."

14                This, I think, is an important message that the

15    jury could have considered.       And bearing on Mr. Caldwell's

16    state of mind and his anticipation of violence on

17    January 6th and in violence directed at Congress, as he does

18    with reference certifying some crud on Capitol Hill, as we

19    see in a moment, there's an additional email or text message

20    between Mr. Caldwell and Mr. Smith referencing the

21    Capitol Building itself.

22                On January 1, also in reply to a comment by

23    John McGraw, he writes, "We must smite them down -- excuse

24    me.   We must smite them now and drive them down."

25                Later that day he writes to Mr. Crowl:           "Paul will
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                                                                              13

1     be the Quick Reaction Force."

2                 This is a very long message to Donovan Crowl:

3     "Stewie never contacted me and Sharon and I are going our

4     way....Paul will have the goodies in case things go bad and

5     we need to get heavy."

6                 He then recommends that Mr. Crowl and Ms. Watkins

7     stay at the Comfort Inn.

8                 On January 2nd, Mr. Stamey writes to Caldwell:

9     FLA, 2 men left back.      15 to 20 going in D.C."

10                I think that is sort of a preview of how they

11    would operate on January 6th; that is, leaving two men back

12    at the Comfort Inn to serve as the QRF, with others going in

13    the District of Columbia.

14                Also on January 2nd, this is the date on which

15    Mr. Caldwell is making multiple attempts -- I'm not going to

16    read them all into the record -- but there are numerous

17    messages in which he's trying to obtain boats.            And the

18    purpose, he says, that is to have a "Team with heavy weapons

19    standing by, quickly load them and ferry them across the

20    river to our waiting arms," and he's inquiring of multiple

21    individuals about securing a boat for that purpose.

22                On January 5 of 2020, Mr. Smith says to

23    Mr. Caldwell -- and this is what I was referring to

24    earlier -- "How far is it from the Capitol Building to the

25    motel the Virginia side?"
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                                                                              14

1                 So this is on January 5, before the events on the

2     6th.   Mr. Smith is already talking about the distance

3     between the hotel and the Capitol with Mr. Caldwell.

4                 And that combination of that evidence along with

5     the, what I'll just generally call the consciousness of

6     guilt evidence, which I'll discuss in greater detail later;

7     and specifically that is the unsending of Facebook posts,

8     including the video of Ms. Watkins and Mr. Crowl entering

9     the building and the message about securing the boat, which

10    is one of the Facebook posts that was unsent.            All of those

11    actions and all of that conduct taken together, the jury

12    could conclude that Mr. Caldwell did aid and abet

13    Ms. Watkins and Mr. Crowl and their efforts to obstruct an

14    official proceeding.

15                Importantly, as I said, just to go back to the

16    elements of that offense, as I said, Ms. Watkins and

17    Mr. Crowl, they were, in fact, convicted of 1512(c)(2).

18    Mr. Caldwell did know that the offense was going to be

19    committed.    I think all of these messages, at a minimum,

20    would have established Mr. Caldwell would have had an

21    understanding that Ms. Watkins and Mr. Crowl would have used

22    force, including weapons, to disrupt the proceedings on

23    January 6th itself and that they would have attempted to do

24    so, meaning self-perform an act or acts in furtherance of

25    the offense or to support the offense, and that is to
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                                                                                 15

1     establish the QRF.        And there plenty of communications with

2     the North Carolina Oath Keepers, as well as Ms. Watkins and

3     Mr. Crowl about the QRF to support them and provide for the

4     conduct that was anticipated on the 6th.           And then they

5     performed those acts.        So I think that's the narrowest

6     ground upon which I think the jury could sustain a verdict.

7                 I also think that his own actions on

8     January 6th -- again, this is at the Rule 29 stage -- could

9     support the verdict.        As to the first element that he

10    obstructed or impeded an official proceeding, that, I think

11    a jury could have concluded that established by his own

12    actions that day, that is, making his way to near the Lower

13    West Tunnel, although only a portion of that conduct was

14    captured on video, Mr. Caldwell did -- and, of course, this

15    is on a Rule 29 standard, in which a jury is presumed to

16    actually credit the things Mr. Caldwell said about what he

17    did that day.    Quote, he wrote, "We are surging forward,

18    doors breached."        That evening he later -- and that was

19    something he said during the course of moving forward to the

20    Capitol that day.

21                Later that evening, he describes his actions to a

22    friend as follows:        "Then the lying media Trump supporters

23    were breaking through barricades.         So I said, 'If we're

24    going to get blamed, might as well do it.'               So I grabbed up

25    my American flag and said, 'Let's take the damn Capitol.'
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                                                                               16

1     So people started surging forward and climbing the

2     scaffolding outside.        So I said, 'Let's storm the place and

3     hang they traitors.'        Everybody thought that was a good

4     idea, so we did.        We threw some gas at it, but we climbed

5     the steps after breaking two rows of barricades and got on

6     the parapets.    And the people in front of me broke through

7     the doors and started duking it out with the pits who broke

8     and ran.    Then we started stealing the cops' riot shields

9     and throwing fire extinguishers through windows.              It was a

10    great time."

11                And he also sends a photograph of himself and

12    Ms. Caldwell with the caption "Us storming the Capitol

13    [sic]."

14                Again, this is a Rule 29 standard.           These are

15    Mr. Caldwell's words.        And I understand what the defense was

16    with respect to these words.        But, nevertheless, at a

17    Rule 29 stage where the jury could reasonably have inferred

18    the truth of what Mr. Caldwell was saying that day, the kind

19    of conduct that he described, even though much of it was

20    captured on video, could lead a reasonable jury to conclude

21    that Mr. Caldwell's conduct that day did obstruct or impede

22    an official proceeding since the certification proceedings

23    had to be adjourned as a result of such conduct.

24                The second element, he intended to obstruct or

25    impede the official proceeding, this could be inferred from
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                                                                              17

1     his own actions and his own descriptions of what he did that

2     day as wells the multiple unsent messages that were sent on

3     the afternoon of the 6th.      There are a number of Facebook

4     postings on the afternoon of the 6th that Mr. Caldwell

5     ultimately unsends and we do not know ultimately what the

6     constant of those messages are or were.          And so a jury

7     certainly could infer that or infer incriminating messages

8     to establish the intent, the requisite intent.

9                 Three, that Mr. Caldwell acted knowingly with an

10    awareness that the natural and probable effect of his

11    conduct would be to obstruct or impede the official

12    proceeding.    The jury certainly could have inferred this

13    based on Mr. Caldwell's understanding of the significance of

14    January 6th.    Just by way of example, we have the video of

15    Mr. Caldwell and Ms. Caldwell walking to the Capitol and

16    which Mr. Caldwell could be heard saying that he knows where

17    Pence lives, referring to Mike Pence, the vice president,

18    "and that punk ass better do what he is supposed to do,"

19    referring to what a jury could infer to mean Vice President

20    Pence's role over the certification.

21                And then he says, before moving towards the

22    Capitol when he's at the Peace Monument while he is texting

23    Ms. Watkins, "Pence has punked out.         We are screwed."

24                Again, these are just messages that the jury could

25    have relied upon to understand that -- or to come to the
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                                                                                  18

1     conclusion that Mr. Caldwell would have acted -- understood

2     what the natural and probable effect of his conduct would be

3     to obstruct and impede an official proceeding.

4                 Finally, there's the element of acting corruptly.

5     And we had a fair amount of discussion about that when we

6     were together back on May the 22nd.

7                 There are a number of ways the government could

8     have proven beyond a reasonable doubt that Mr. Caldwell had

9     the requisite corrupt intent.          One was that he knew the

10    conduct was wrongful -- well, excuse me.            He had to, as part

11    of corrupt intent, know that the conduct was wrongful.                And

12    I think the jury could have drawn that inference easily just

13    from the actions, the secrecy with which Mr. Caldwell was

14    conducting himself prior to January 6th, and then the

15    unsending of messages that he had sent on January 6th, some

16    days later, all would have been probative of his state of

17    mind and his understanding of the wrongfulness of his

18    conduct.

19                In terms of corrupt intent, there are two

20    potential means of establishing corrupt intent that were

21    discussed by the parties on May the 22nd.             First is through

22    evidence of unlawful means, that is, independently unlawful

23    acts; two, evidence of an improper or unlawful purpose.

24                The jury instructions require Mr. Caldwell to have

25    used these unlawful means or had an improper purpose for
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                                                                              19

1     both.

2                 Starting with improper purpose, I do think the

3     jury could have concluded that the improper purpose was to

4     prevent the proceedings from going forward to enable

5     President Trump to remain in office.         The jury would have

6     had access to the early December messages that Mr. Caldwell

7     wrote concerning a much bigger op to support the President,

8     to save the country; his later messages, including his

9     receipt of Stewart Rhodes' open letter; and the clear

10    references to staging of materials to support events,

11    conduct on January 6th, all could have been considered by

12    the jury as this establishing acting with an improper

13    purpose.    And in this case that would have been to prevent

14    the proceedings from going forward to enable President Trump

15    to remain in office as the ultimate improper objective.

16                And then there's the question of unlawful means

17    and unlawful -- independent, unlawful acts.             And we talked a

18    fair amount about this.      And I think at the end of the day,

19    I do think the jury could have come to the conclusion that

20    Mr. Caldwell did use unlawful means.         Now, I don't think

21    there's any requirement in the law that the jury had been

22    actually instructed about the particular unlawful means.

23    But at least they were, in my view, instructive of two

24    potential unlawful means.

25                The first would be 18 U.S.C. 231, and that's a
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                                                                              20

1     civil disorder count.       Mr. Caldwell wasn't actually charged

2     with it, but they would have had that count in front of them

3     with Ms. Watkins.       And that required committing or

4     attempting to commit any act to obstruct, impede, or

5     interfere with law enforcement officer lawfully engaged in

6     the lawful performance of official duties incident to and

7     during the commission of a civil disorder.

8                 And this could be supported with Mr. Caldwell's

9     own words in which he described his actions on January 6th

10    as:   "We started stealing the cops' riot shields and

11    throwing fire extinguishers through windows."

12                Again, this is a Rule 29 standard.          Mr. Caldwell's

13    statements could have been believed by the jury at the end

14    of the government's case and a statement in reference to

15    stealing cops' riot shields during a civil disorder could

16    have satisfied 18 U.S.C. 231, which would -- stealing a riot

17    shield could constitute committing or attempting to commit

18    any act to obstruct, impede, or interfere with law

19    enforcement.

20                Then there's the 18 U.S.C. 372 conspiracy to

21    prevent, by force, intimidation, or threat, any person from

22    accepting or holding any office, trust, or place of

23    confidence under the United States.

24                Mr. Caldwell was acquitted of that particular

25    charge, and I'm not here trying to reconcile the jury's
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                                                                              21

1     verdicts.    But I will note the following:

2                 I think a reasonable jury could have concluded

3     that Mr. Caldwell did violate that offense even if not with

4     respect to the conspiracy that as charged in the indictment.

5     There was a fair amount of evidence that Mr. Caldwell had

6     aligned himself with the North Carolina Oath Keepers, which

7     it had a falling-out with Stewart Rhodes about the middle of

8     the November rally.

9                 In fact, there's a December 4th text message with

10    Mr. Crowl that talks about the split and Mr. Caldwell's view

11    that Stewart Rhodes might view Mr. Caldwell as the threat,

12    someone that might take his position.

13                And then on January 1st, Mr. Caldwell writes to

14    Mr. Crowl, "Stewie never contacted me, so Sharon and I are

15    going our own way."

16                I think a reasonable juror could have concluded

17    that Mr. Caldwell agreed to a 372 conspiracy that included

18    Ms. Watkins and Mr. Crowl and the North Carolina

19    Oath Keepers even if not the conspiracy that was charged in

20    the indictment.

21                And, of course, the jury was given a set of

22    multiple conspiracies instruction.        And so even if

23    Mr. Caldwell was acquitted of the conspiracies with which he

24    was charged, I think that a Rule 29 standard, the jury could

25    have reasonably concluded, viewing the evidence in a light
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                                                                                22

1     most favorable to the government, that Mr. Caldwell did

2     participate in the 372 conspiracy based upon the evidence

3     that I've just stated.

4                 I'll also note -- and we had this conversation

5     about whether underlying misdemeanor could serve as the

6     unlawful means.     I'm not going to take a position on that

7     except to note that the misdemeanor at 1752(a)(4) provides

8     or makes unlawful someone whose conduct -- who knowingly

9     engages in an act of physical violence with a person,

10    property, and restricted building or grounds.

11                Now, again, if Mr. Caldwell's description of his

12    conduct is to be believed, he described his conduct on

13    January 6th as breaking two rows of barricades, who started

14    stealing the cops' riot shields and throwing fire

15    extinguishers at the windows.          And then he said, "So I said,

16    'Let's storm the place and hang the traitors.'              Everybody

17    thought that was a good idea.          So we did."

18                And it's his own description of using physical

19    violence against property and/or aiding and abetting others

20    in acts of physical violence through encouragement of such

21    violence, which could constitute unlawful means, independent

22    unlawful means that could be unlawful under 1752(a)(4).

23                So for all of those reasons, I do find that the

24    Rule 29 stage to be 1512(c)(2) charge is supported by the

25    evidence.    I will note that after the close of the defense
     Case 1:22-cr-00015-APM   Document 825     Filed 02/29/24   Page 23 of 46

                                                                                23

1     case in which Mr. Caldwell did testify, it would only

2     re-affirm that conclusion as the jury could have discredited

3     Mr. Caldwell's own testimony and Mr. Caldwell's own

4     testimony that attempted to justify his actions and explain

5     his actions that day.

6                 And so I think that my conclusion with respect to

7     the Rule 29 standard after the defense case would stand as

8     well, notwithstanding Mr. Caldwell's testimony.

9                 Then there is the conviction for tampering with

10    documents or other materials.          That's a violation of

11    1512(c)(2).    With respect to that count, the government had

12    to prove beyond a reasonable doubt that Mr. Caldwell deleted

13    from his Facebook account certain media, files, and

14    communications that showed his involvement in the conduct

15    being investigated by the grand jury.           The elements of that

16    offense which were, one, the defendant altered and

17    destroyed, mutilated, or concealed a record, document, or

18    other object.

19                Two, the defendant acted knowingly.

20                Three, the defendant acted corruptly.

21                And, four, the defendant acted with the intent to

22    impair the object's integrity or availability for use in an

23    official proceeding.

24                In the context of this Rule 29 analysis, I must be

25    convinced that there is sufficient evidence from which a
     Case 1:22-cr-00015-APM   Document 825    Filed 02/29/24   Page 24 of 46

                                                                               24

1     jury could conclude that when the defendant engaged in

2     obstructive conduct, the grand jury proceedings were

3     reasonably foreseeable to him.         For reasons I will soon

4     explain, I found that there's sufficient.

5                 I'm sorry.    I thought somebody was interrupting

6     maybe.   JC, I don't know if it's in the courtroom or not.

7     If we could just mute the courtroom line.

8                 I must be convinced that there is sufficient

9     evidence from which a jury could conclude that when the

10    defendant engaged in obstructive conduct and the jury

11    proceedings were reasonably foreseeable to him and for

12    reasons I will soon explain, I find that there's sufficient

13    evidence to uphold his conviction.

14                In reaching this decision, I've agreed to various

15    cases cited by the parties and discussed during our May 22nd

16    hearing as well as the omnibus hearing.           These cases include

17    United States versus Aguilar, 515 U.S. 593.              U.S. versus

18    Young, 916 F.3d 368, from the Fourth Circuit.             United States

19    versus Martinez, 862 F.3d 223, from the Second Circuit.

20    United States versus Johnson, 655 F.3d 494, from the

21    Second Circuit.     United States versus Wellman, 26 F.4th 339,

22    from the Sixth Circuit.      And there is a recent -- I'm sorry.

23    And one more case, which is United States versus Matthews,

24    505 F.3d 697, from the Seventh Circuit.

25                I will note there's also a recent decision from
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                                                                              25

1     the Sixth Circuit, called United States versus Buchanan,

2     2023 Westlaw 5352223.      That was decided on August 21 of '23,

3     which builds on the Wellman decision.

4                 And I will note in a more recent post,

5     Mr. Edwards, for your benefit, I'm passing along that

6     decision, which I wasn't aware of with respect to --

7                 MR. EDWARDS:    Ms. Steele.

8                 THE COURT:    -- Ms. Steele's offense as well, yes,

9     and we'll post it to the Court supporting that as well.

10                MR. EDWARDS:    Thank you, Your Honor.

11                THE COURT:    So the facts that pertain to this

12    offense are as follows:

13                On the afternoon of January 7th of 2021,

14    Mr. Caldwell messaged Mr. Crowl, "You and Jess appear at

15    about the 3:21 mark of this great video.          That's as far as

16    I've gotten."

17                Mr. Caldwell additionally sends a link to the

18    video.   This is the News2Share video, I believe it's called.

19    And then later actually text-messages that video link to

20    Mr. Crowl when he says he wasn't able to access it.

21                Two days later, on January 9th, Mr. Caldwell

22    messages user named Christine Francis.          I won't read the

23    whole message, but just note it is Mr. Caldwell is speaking

24    to Ms. Francis about how Facebook can be deactivated, but

25    Messenger still works.      And still it's like -- he notes that
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                                                                              26

1     "If you like, I can also turn you onto some encrypted

2     text-message services which cost nothing and some email that

3     likewise is encrypted at no cost.        We would dearly love to

4     stay in touch with you without the Nazis punishing either

5     you or us for anything we try to share.          Sharon and I were

6     in D.C., as you must know.      And while not in the very thick

7     of it, we were in the middle of some heavy stuff."

8                 Mr. Caldwell's comments here could be a reference,

9     could be construed to be a reference to federal

10    investigators who may be seeking evidence to collect against

11    him.

12                January 8th, Mr. Caldwell texts Ms. Watkins:

13    "Do you remember an email account I told you.            If yes, say

14    yes.    Don't write it out in a reply to this.          If no, say no

15    and I will get it to you in pieces."

16                This is, I think, a reference to an email account

17    on ProtonMail or at least be construed to be a reference to

18    an email account that is set up on ProtonMail and that he

19    sent to Mr. Crowl back on November 4th.          This is the

20    dixie65@protonmail.com address.

21                Then on January 9th, Ms. Watkins responds to

22    Mr. Watkins -- Ms. Watkins responds to Mr. Caldwell, excuse

23    me:    "Goddamn it, why is my face associated with dead cops?

24    I was nice to them.      Yes, I remember the email," Ms. Watkins

25    says.
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                                                                                27

1                 Mr. Caldwell then responds, "PW" -- I think he's

2     referring to password -- "is three words together in a

3     string.   First is strike."

4                 Ms. Watkins responds, "I know.          I'm just terrified

5     that I'll wanted after a title like that."

6                 Ms. Watkins clearly expressing concern that she is

7     going to be the subject of law enforcement and perhaps a law

8     enforcement investigation and more.

9                 Mr. Caldwell says, "One asshole had that on a

10    blog.   I copied it.     Can't even find the blog today, but it

11    was just a thumbnail crested by the prick most likely.                Wish

12    I had written his name down.        Anyway, probably very few

13    others saw it, and he was nowhere on the News2Share site

14    from which it was taken.      If any shit should ever come down,

15    you were with me all the time and I'll swear to it."

16                Ms. Watkins responds, "There's too much evidence

17    contrary.    Perjury bad.    LOL.      I won't worry then."

18                Mr. Caldwell back, "Please don't.             What we did was

19    righteous.    Are you on Signal?        Paul in NC says we should

20    switch to telegraph.      I heard Signal has been hacked.

21    That's why Paul suggested we find a backup."

22                That entire exchange, a reasonable jury could have

23    concluded, reflected Mr. Caldwell's understanding that law

24    enforcement had begun and would be beginning an

25    investigation of not only Ms. Watkins but him as he was
     Case 1:22-cr-00015-APM   Document 825   Filed 02/29/24   Page 28 of 46

                                                                                   28

1     associated with her and was certainly aware that his conduct

2     supported her that day.      References to things like "You were

3     with me all the time, and I'll swear to it," Mr. Caldwell

4     refers to, could be construed as not simply a law

5     enforcement investigation but swearing under oath at a

6     proceeding.    If you were to be called upon to provide

7     Ms. Watkins with an alibi, she does then say, "Perjury bad,"

8     which, of course, also refers to, strictly speaking, false

9     statements made under oath during a trial or some official

10    proceeding.

11                Now, again, I recognize what the defense's view is

12    of this statement.      And, again, it's the Rule 29 standard.

13    And that is the standard I'll apply here, and a reasonable

14    jury could have taken Mr. Caldwell and Ms. Watkins for

15    precisely literally what they were saying.

16                On January 11th -- and there's more evidence.               On

17    January 11th, the CNN article dated January 8th to

18    Adrian Grimes, the URL -- we don't have the article -- which

19    refers to an arrest in connection with the Capitol riot.

20                January 14th, a New Yorker article was sent, which

21    mentions Ms. Watkins and Mr. Crowl.         This was discussed by

22    Agent Palian on his cross-examination by Mr. Caldwell at

23    pages 16, 26, and 27, although the article itself, I don't

24    believe, was entered into evidence in the government's

25    rebuttal case.
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                                                                              29

1                 That article, as I said, mentioned Ms. Watkins and

2     Mr. Crowl.    The 14th is, of course, important, because

3     that's also the day that Ms. Watkins shared The Washington

4     Post article about the Zello equipment.

5                 It is a few days -- it is on that day, January

6     14th, the same day as the New Yorker article and

7     The Washington Post article, that the government condemns

8     Mr. Caldwell unsent dozens of messages on Facebook, some of

9     which pertained to actions on January 6th.

10                Right before noon on that day, Ms. Watkins

11    messages Mr. Crowl, "I have half a mind to spend a week with

12    Commander Tom until the media vultures find a new carcass to

13    pick clean."

14                That day, there was a recording by Mr. Caldwell,

15    an accidental one, in which -- between he and Ms. Caldwell.

16    This is, of course, in the defense case, that they were

17    expecting Mr. Crowl to come down.        Words can be heard, "And

18    they are being harassed by the media and Antifa.             So because

19    of that, they want to come and stay with us for a few days."

20                At 12:28 p.m., Mr. Caldwell unsent the News2Share

21    link video that day.      This was get 2002.T.61, transcript

22    pages 6766 through '69.

23                From 12/28 to 12/29, Mr. Caldwell unsent and

24    deleted other Facebook content.        This is transcript 6549

25    through '56, same Government exhibit, also at 12:29 p.m.,
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                                                                               30

1     Mr. Crowl messages Mr. Caldwell, "We will be leaving here at

2     2:30.   That will put us into place between 8:30 and 9:00,

3     20:30 and 21:00."

4                 At 12:32, Mr. Caldwell messages Mr. Crowl, "Any

5     way to log in to read my message before you leave?             You may

6     be able to bring something I need with you.             Damn selfish of

7     me.   I apologize.      And then delete that account as soon as

8     you see it."

9                 A minute later, Mr. Caldwell to Mr. Crowl,

10    "We will expect you.       Bring full battle rattle to stash here

11    if you want.'.

12                But the prior email, this is probably a reference

13    to -- the prior message is a reference to email address,

14    ProtonMail email address that Mr. Caldwell had set up

15    earlier to have secure conversations with Ms. Watkins and

16    Mr. Crowl.

17                Between 5:53 p.m. and 8:23 p.m. on the evening of

18    the 14th, Mr. Caldwell unsent and deleted additional

19    Facebook content, including a message on January 7th

20    concerning the boat transport efforts to secure boat

21    transport with Matt Combs.       We know that because Mr. Combs

22    wrote back about a boat.

23                Then three days later, on January 17th, the FBI

24    conducted a search of Ms. Watkins's residence while she was

25    staying at Mr. Caldwell's phone.        Within 24 hours of that
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                                                                               31

1     search, Ms. Watkins had turned herself in and was arrested.

2                 On the 19th, Mr. Caldwell was arrested.

3                 And eight days later, on the 27th, the first

4     indictment in the case was handed down.

5                 What we know is that all told, Mr. Caldwell

6     deleted all of his communications with Mr. Crowl and

7     approximately 180 other Facebook messages, some of which

8     were unrelated to January 6th.         It's also to prove that some

9     of the photographs that were deleted were still available on

10    Mr. Caldwell's phone.

11                Ultimately, all this boils down is to the question

12    of nexus:    whether there was a sufficient nexus between any

13    obstructive conduct and an official proceeding -- that is,

14    namely, the grand jury proceeding.         To establish the

15    required nexus between the obstructive conduct and the

16    statutory prescribed official proceeding, the defendant's

17    obstructive conduct must be connected to specific official

18    proceeding that was either pending or was reasonably

19    foreseeable to the defendant when he engaged in that

20    conduct.

21                The law enforcement investigation, such as an FBI

22    investigation, does not constitute such an official

23    proceeding for purposes of 18 U.S.C. 1512(c).

24                Now, in U.S. versus Johnson, the Seventh Circuit

25    said in a situation like this, the government simply "needed
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                                                                              32

1     to prove enough evidence the defendant foresaw that the

2     contraband might be used in an official proceeding and

3     destroyed it with the intent of preventing that use."

4                 In Wellman, the Sixth Circuit said, "We must be

5     careful to avoid conflating obstruction of an official

6     proceeding with obstruction of a mere criminal investigation

7     unconnected with an official proceeding.          To distinguish

8     between the two, you look for specific evidence in the

9     record, beyond mere speculation, and the defendant

10    reasonably foresaw an official proceeding when he committed

11    the obstructive acts.      If the evidence reveals that a

12    defendant acted with an awareness that he was the target of

13    an investigation and that the government might be trying to

14    build a case against him, the nexus requirement is

15    satisfied."

16                Now, a reasonable juror before January 14th could

17    have done concluded:

18                One, Mr. Caldwell was aware that he and his

19    co-conspirators were caught on video entering the Capitol.

20                Two, that there had been arrests started for

21    participants of January 6th events.

22                Three, he was using communications that would make

23    it difficult to track those communications -- that is,

24    encryption and encrypted email or the suggestion of use of

25    other encrypted messaging apps.
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                                                                              33

1                 Four, in conversations with co-conspirators about

2     the possibility of law enforcement uncovering their actions,

3     Mr. Caldwell did say to Ms. Watkins, "If any shit should

4     ever come down, you were with me all the time, and I'll

5     swear to it."    She responds, "There's too much evidence to

6     the contrary.    Perjury bad."

7                 And then, of course, there is The New Yorker

8     article that comes out the very day that Ms. Watkins and

9     Mr. Crowl come to visit.      It was shown in the rebuttal case

10    that Mr. Caldwell had seen that article, and then he begins

11    deleting posts and communications of Mr. Crowl, as well as

12    the posts concerning the boat on 14.

13                Now, all of that evidence, again, in the light

14    most favorable to the government, could have established

15    that Mr. Caldwell was, as the words of the Seventh Circuit,

16    deleting or unsending the Facebook posts because he was

17    concerned they might be used in an official proceeding and

18    destroyed with it with the intent of preventing that use.

19                Again, the use doesn't only need to be necessary

20    against him; it could be against others.          So that can

21    include deleting evidence that he believed could be

22    implicating of Ms. Watkins and Mr. Crowl, and certainly his

23    communications with them suggest that he was prepared to

24    take steps to do that.

25                And so both, I think, the facts establish that
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1     there is specific evidence, and it doesn't require a mere

2     speculation but reasonable inferences that Mr. Caldwell knew

3     that not only that Ms. Watkins and Crowl would be the target

4     of an investigation, but because of his association with

5     them and his actions with them, that he too would be the

6     target of investigation and that the government might try to

7     build a case not only against them but him, and so I think,

8     based on all of that evidence, I do think the nexus

9     requirement is satisfied.

10                And I will just add that Mr. Caldwell did testify

11    in his own defense during the defense case and that the

12    Rule 29 motion could be sustained and would be denied at

13    that stage as well because the jury could have reasonably

14    discredited Mr. Caldwell's explanations with respect to his

15    conduct and his testimony overall.

16                So for those reasons, I will deny the Rule 29

17    motion with respect to the two counts, the conviction for

18    Mr. Caldwell, and I think what we need to now do is just

19    simply set a sentencing date.

20                So, Mr. Fischer, why don't you -- and,

21    Mr. Edwards, when are you available on a Friday in the

22    coming weeks?    Let me throw out a few dates to you.

23                Sorry, everyone.

24                How about -- sorry to put this off for so long,

25    but how about November 10th?       Oh, that's Veterans Day.
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                                                                              35

1     Gosh.

2                 Are you all available October 27th in the

3     afternoon?

4                 MR. EDWARDS:    Yes, Your Honor, the government is

5     available.

6                 MR. FISCHER:    Actually, I believe I'm in a -- let

7     me just double-check.      I'm in a jury trial that day, in a

8     three-day jury trial.      That's day 2.     Monday is day 3.

9     Yeah.   I can't.

10                THE COURT:    Okay.

11                How about -- sorry to push this out so far, but

12    November 20th.

13                MR. EDWARDS:    That also works for the government,

14    Your Honor.

15                MR. FISCHER:    I can make that work, Your Honor.

16                THE COURT:    All right.    How about, let's do 10:00

17    on -- well, actually, let's do -- let's just do 10:00 on

18    November 20th if everyone is available.

19                MR. EDWARDS:    Your Honor, I apologize.         That's the

20    week of Thanksgiving, I believe.

21                THE COURT:    It is.

22                MR. EDWARDS:    I know we have a lot of government

23    counsel.    The way we had divvied this up, there's a

24    potential conflict.      And I hesitate to ask that because

25    I know the Court's schedule is crazy.         So if that is the
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                                                                                 36

1     date, we can handle it and we will do it.             But I just wanted

2     to see if there was potentially one other date.

3                 THE COURT:     Oh, you know what?       I can -- actually,

4     I think I could do this, because I had another trial come

5     off the calendar.       So how about November 16 at, say,

6     1:30 p.m.?

7                 MR. FISCHER:     That works for the defense.

8                 MR. EDWARDS:     Yes, that works for the government.

9                 And apologies for the inconvenience.

10                THE COURT:     No.   Trust me; my schedule is the one

11    that is driving the challenges here.

12                So November 16th at 1:30 p.m., we'll set it down.

13                All of the submissions are in, in terms of

14    sentencing.    But if anybody would like to supplement with

15    anything, just file something by the 13th.                That would be

16    helpful.

17                And if you also would just let us know by the

18    13th -- well, by the 14th -- or by the 13th, if you would,

19    whether you intend to call any witnesses for purposes of the

20    sentencing, okay?

21                MR. EDWARDS:     The 13th or 14th?

22                THE COURT:     By the 14th is fine.

23                MR. EDWARDS:     14th.     Okay.

24                THE COURT:     14th is fine.

25                MR. EDWARDS:     Great.    Thank you.
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                                                                              37

1                 THE COURT:    Okay.   Anything else, everyone?

2                 MR. FISCHER:    No, Your Honor.

3                 MR. EDWARDS:    No, Your Honor.

4                 THE COURT:    All right.    Thank you, all, very much

5     and be well, everybody.

6                 MR. EDWARDS:    Thank you.

7                 (Proceedings concluded at 9:19 a.m.)

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                         C E R T I F I C A T E
                  I, William P. Zaremba, RMR, CRR, certify that
 the foregoing is a correct transcript from the record of
 proceedings in the above-titled matter.




 Date:__September 20, 2023___ ____________________________
                                    William P. Zaremba, RMR, CRR
                                                                                                                               39

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 MR. GREENE: [1]
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 MR. NESTLER: [1]
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